AO 470 (8/85) Order of Temporary PetentioD



                                  UNITED STATES DISTRICT COUR'                                               r"               L

                                             EASTERN DISTRICT Of VIRGINIA                                                     19 2019            i:7
                                                                                                                  CUHK,U.S. DISTRICT COURT
                                                                                                                     ALEXANDRIA. VIRRIMW
UNITED STATES OF AMERICA
                                                                     PENDING HEARING PURSUANT TO
                                                                     BAIL REFORM ACT

                          V.
                                                                      CASE NO.


   Ar)6rm 1

           Upon motion of the United States Government,it is hereby ORDERED that a

detention hearing is set for                                          a                                at                        —•


 before the Honorable                     Theresa Carroll Buchanan in Courtroom 500 at

401 Courthouse Square, Alexandria, Virginia.

           Pending this hearing, the defendant shall be held in custody by the United

States Marshal and produced for the hearing.
                                                                                               /s/
                                                                                     eresacarroll Buchanan                            1     .
                                                                                                                                      ^ '-i *}
                                                                                       ted States Magistrate Judge

    Date:                                                                  Theresa Carroll Buchanan
                                                                       United States Magistrate Judge



*If not held immediately upon defendant's first appearance, the bearing maybe continued for up to three days npon motion of the
Government, or up to five days upon motion of the defendant 18 U.S.C.§ 3142(f)(2).
          A hearing is required whenever the conditions set forth in 18 U.S.C.§ 3142(f) are present Subsection (1)sets forth the
grounds that may be asserted only by the attorney for the Government; subsection (2)states that a bearing is mandated upon the motion
ofthe attorney for the Government or upon the judicial officer's own motion if there is a serious risk that the defendant(a) will flee or
(b) will obstruct or attempt to obstruct justice, or threaten,injure, or intimidate, or attempt to threaten,injure, or intimidate a
prospective witness or juror.
